                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                        No. 2:14cr121–JFC–012

              v.

TYRONE TURNER,

                            Defendant


            DEFENDANT’S SENTENCING MEMORANDUM AND
 REQUEST FOR DOWNWARD DEPARTURE FROM THE SENTENCING GUIDELINES


       Sentencing is set for August 26, 2016 following a change of plea from which Mr.

Turner bore responsibility for participation in a drug conspiracy. We noted no corrections

or additions to the pre–sentence investigation report.

       By this memorandum, we enlighten this Honorable Court as to the applicability of

the sentencing factors to Mr. Turner and specifically request that the court limit sentence

him to a term of probation with a concomitant period of home detention as being

sufficient but not greater than necessary to comply with the goals of punishment.

                        The Current State of Sentencing Law

       Before the United States Supreme Court decided United States v. Booker, 543 U.S.

220 (2005), district courts could depart from a Guidelines range only when “encouraged”

bases for departure were present, ala in the Guidelines, or in other “exceptional”

situations. United States v. Koon, 518 U.S. 81, 95 (1996) (quoting 1995 USSG ch. 5, pt.

H, intro. comment). A defense request for departure in the district court would, for
example, occur with the hope that a below-Guidelines sentence be imposed. See, e.g.,

United States v. McBroom, 124 F.3d 533, 539 (3rd Cir. 1997) (discussing the effect of

diminished capacity in light of discouraged and encouraged factors when the Guidelines

were mandatory).

      In Booker, the United States Supreme Court announced that the Guidelines are

advisory only. Booker, 543 U.S. at 246. Consistent with that approach, the following

three-step process gives the Guidelines appropriate consideration in the sentencing

process:

             1.     Calculate the Guidelines sentence precisely as would have been true

                    before Booker, United States v. Wright, 642 F.3d 148, 152 (3rd Cir.

                    2011), citing United States v. Tomko, 562 F.3d 558, 567 (3rd Cir.

                    2009);

             2.     In that exercise, the court must formally rule upon a party’s motion

                    and state on the record whether a departure will be granted and, if so,

                    how the departure affects the Guideline calculation (taking into

                    account the Third Circuit’s pre-Booker case law, which has only

                    advisory force), Tomko, 562 F.3d at 567; and United States v.

                    Vazquez-Lebron, 582 F.3d 443, 445-46 (3rd Cir. 2009).

             3.     The trial court must exercise discretion in considering the relevant

                    Section 3553(a) factors in setting the sentence, regardless of whether

                    it varies from the Guidelines sentence. Id.
       United States v. Gall, 128 S. Ct. 586, 596 (2007) confirmed the first and third steps

of this calculus and clarified the fact that a district court must consider all of the Section

3553(a) factors. The need to rule on departure motions, however, is in no way diminished.

See United States v. Wise, 515 F.3d 207, 216 (3rd Cir. 2008). Modifying the Guidelines

range under step two is a “departure” and is based upon reasons provided by the

Guidelines. United States v. Floyd, 499 F.3d 308, 311 (3rd Cir. 2007); United States v.

Jackson, 467 F.3d 834, 837 n.2 (3rd Cir. 2006). A sentence that diverges from the final

Guidelines range – which, because of a departure at step two, may be different from the

original Guidelines range – is a “variance.” Floyd, 499 F.3d at 311. A variance is based

upon the court’s consideration of the Section 3553(a) factors. United States v. Gunter,

462 F.3d 237, 247 n.10 (3rd Cir. 2007) (citation omitted).

       Even though the Guidelines must be considered, a district court’s calculation of the

sentence by that method does not a presumptively reasonable sentence make. In Nelson v.

United States, 555 U.S. 350, 352 (2009) the Court took pains to rule that a Guidelines

sentence is not presumed reasonable and to find as such constitutes error. (The Fourth

Circuit improperly affirmed a within-Guidelines sentence despite the trial judge’s remarks

that, “the Guidelines are considered presumptively reasonable.”) A Guidelines sentence is

no longer presumed to be reasonable. See also Spears v. United States, 555 U.S. 261, 266

(2009) (a district judge can reject and vary categorically from a Guideline provision, in

this case involving crack-cocaine ratio, in light of policy disagreement with those

Guidelines). See also United States v. Cavera, 550 F.3d 180, 191 (2nd Cir. 2008) (en
banc) (“As the Supreme Court strongly suggested in Kimbrough, a district court may vary

from the Guidelines range based solely [up]on a policy disagreement with the Guidelines,

even where that disagreement applies to a wide class of offenders or offense.”)

      We now see that the United States Constitution requires a case-specific, informed

and nuanced analysis consistent with the requirements of Section 3553(a). The United

States Supreme Court made this point clear in Pepper v. United States, 131 S. Ct. 1229

(2011):

                 It has been uniform and constant in the federal judicial
                 tradition for the sentencing judge to consider every
                 convicted person as an individual and every case as a
                 unique study in the human failings that sometimes
                 mitigate, sometimes magnify, the crime and the
                 punishment to ensue. Koon v. United States, 518 U.S.
                 81 (1996). Underlying this tradition is the principle
                 that “the punishment should fit the offender and not
                 merely the crime.” (citations omitted)

                 Consistent with this principle, we have observed that
                 “both before and since the American colonies became
                 a nation, courts in this county and in England practiced
                 a policy under which a sentencing judge could exercise
                 a wide discretion in the sources and types of evidence
                 used to assist him in determining the kind and extent
                 of punishment to be imposed within limits fixed by
                 law.” Williams, 337 U.S. at 246. In particular, we
                 have emphasized that “[h]ighly relevant -- if not
                 essential -- to [the] selection of an appropriate sentence
                 is the possession of the fullest information possible
                 concerning the defendant’s life and characteristics.”
                 337 U.S. at 247. Permitting sentencing courts to
                 consider the widest possible breadth of information
                 about a defendant “ensures that the punishment will
                  suit not merely the offense but the individual
                  defendant.” Wasman v. United States, 468 U.S. 559,
                  564 (1984).


Id. at 1240
        Pepper instructs that when fashioning a sentence, the district court may consider

any information concerning the background, character and conduct of the defendant,

unless that process somehow violates law. Id., citing to, among others, 18 USC §§ 3551,

3661.

                       The Section 3553(a) Sentencing Factors

        The Nature and Circumstances of the Offense and Defendant’s Characteristics

        Dealing in the commerce known as cocaine sales violates federal law and is

obviously serious. Mr. Turner’s conduct, under the count to which he pleaded guilty,

concerns activity that involved approximately 4.25 ounces of powder cocaine. Further,

that he collected money for Raymond Turner, a cousin. The applicable period of

indictable conduct is 11 months starting in June 2013.

        Mr. Turner’s conduct did not involve the threat or use of violence, a minor,

property damage or actual use of weapons or explosive devices. He does not face a

mandatory–minimum sentence. In these specific respects, the felony–grade offense on

which he has been convicted is less serious than other felony–grade offenses where one or

more of these factors may appear.

        He did not occupy any kind of managerial or other oversight role. He did not

recruit or assist in recruiting prospects to join him or others in these endeavors. During
the course of this investigation, Mr. Turner was gainfully employed at a local university

before FBI investigators notified school administrators of his supposed involvement that

in turn led to his dismissal. In any event, there is no credible evidence showing that Mr.

Turner participated in this conspiracy while on or near that university campus.

       Although not married and never having fathered any children, Mr. Turner has

thrived in a long–term relationship with a woman named Jacqueline L. Gray, who has

four daughters. See Exhibit F. By both her admission and that of three of the four girls, it

is stunning to learn how integral Mr. Turner has been to their respective lives. See

Exhibits A–C, F, and H. Aleah Mallory, Alwana Mallory and Rayla Mallory have all

provided this court with their distinct impressions of how this man has owned up to

domestic responsibilities even though they have no biological connection to him. The

Mallory girls in particular noted how their actual father has become absent from their

lives and Mr. Turner has not only filled the void but also done so in ways that arguably

redefine stability. See Exhibits A, C.

       Indeed, their views, either separately or collectively, tend to show how Mr. Turner

downplayed the characterization of his roles when telling the probation officer that his

relationship with either Ms. Gray or her daughters is simply “pretty good.” See paragraph

38, PSIR. If anything, those comments are modest by comparison, particularly when

juxtaposed with the fact that Mr. Turner did not have a father model during the younger,

more impressionable years of his life and knew not from an adult male provider. His

upbringing came from his mother, Mary Turner, and yet he has become a positive force,
albeit in the role of a “stepfather,” in the lives of these youngsters.

       In addition to serving as if he were the actual father to these girls, Mr. Turner has

taken up the cudgels for his 84–year old maternal grandmother. See Exhibits D, J, and K.

By these testimonials, Mary Turner, her sister Patricia Thompson, and family friend

Geanine Harris have noted a strong work ethic in Mr. Turner’s helping to care for Mary

Turner’s and Patricia Thompson’s mother.

       Lastly, but not in the least, yet other individuals have provided insight into a

reputation on Mr. Turner’s part that seems entirely at odds with one who stands accused

of, and later admits to, criminality. See Exhibits E, G, I, and K.

       These are strong attributes of a kind that denote positive influence, if only because

they define a person who is unlike many others coming before this Honorable Court under

similar circumstances. He re–gained and continues to maintain full–time employment,

trying to be a productive member of society. He’s not abusing controlled substances. He

has no rap sheet. He does not father children out of wedlock. In co–habiting with another

individual, he not only does so with the understanding that she brings children from a

different relationship into the home, but also provides for them in tangible and intangible

ways as if he had a true familial connection to each of those children by Ms. Gray. Just as

importantly, his long–standing connection with Ms. Gray arguably shows a commitment

to a relationship that is emblematic of stability and responsibility.
              The Need for the Sentence Imposed: To Protect the Public From Further

              Crimes of the Defendant

       No mandatory–minimum term of confinement is part of this equation. Under the

facts of this case, it’s not clear how imprisoning Mr. Turner for any prolonged period of

time furthers the goal of protecting the public from the possibility of further misdeeds.

Indeed, a request for a downward departure from the advisory guidelines to a term of

probation forms a later portion of this memorandum.

                     The Need for the Sentence to be Imposed: To Provide the Defendant

                     with Needed Educational or Vocational Training, Medical Care, or

                     Other Correctional Treatment in the Most Effective Manner

       It does not appear that Mr. Turner has a substance–abuse problem. He has

educational and vocational strengths, perhaps putting aside the need for additional

training. His physical and mental health are such that additional medical care appears

presently unnecessary. Earlier orthopaedic surgery, during pre–trial release, on a lower

extremity appears to have healed without complication.

              The Kinds of Sentences Available

       Mr. Turner is not subject to a mandatory–minimum sentence. He has changed his

plea to an offense found at 21 USC § 841(b)(1)(C), whose statutory maximum is 20 years.

Such an offense is a Class C felony.

       As it stands, the PSIR in this matter shows that Mr. Turner’s case falls within

offense–gravity score 15, which produces a confinement range of 18–24 months under
Criminal History Category I. Under the guideline–range sentencing table, this score is

but two realms beyond Zone C, or in Zone D where probation is supposedly disallowed.

       However, under 18 USC § 3561, probation is allowed in circumstances where the

defendant has been convicted of a Zone C felony offense. Here, the authorized term is at

least one, but not more than, five years. A sentence of probation, when imposed, must be

accompanied by a fine or community confinement such as home detention in this case.

       A fine is possible but unlikely as Mr. Turner arguably does not have sufficient

means. His ability to meet the obligation imposed by a fine is circumspect.

       Restitution is not an issue. The special assessment is $ 100.

               The Need to Avoid Unwarranted Sentence Disparities

       There are 14 co–defendants in this case. This matter, like many of its kind, arose in

conjunction with a Title III investigation that originated in McKeesport, Pennsylvania and

whose targets were at least three men who are not part of this docket. Later targets of that

operation, through what is commonly known as spin–off wiretaps, turned out to be the

telephone facilities of co–defendants Raymond Turner and Antione Arnett.

       Of the 14 co–defendants, 13 will have been sentenced by August 26, 2016. Only Alfonso

Eggleston’s case is pending in the pre–trial phase as Ronell Morrison tentatively awaits

sentencing August 19, 2016. Save for Tyrone Turner, all of the others have received judgement

of sentence. A chart shown below provides a snapshot of those outcomes. All defendants were

found guilty by plea changes to a drug–conspiracy count involving powder cocaine. Except for

Messrs. Arnett and Underwood, all pleas concerned amounts below 500 grams, although Stanley

Moore, Eugene Michelotti and Robert Hueckeroth were responsible for a subset of under 50
grams apiece. Interestingly, Moore, Michelotti and Hueckeroth all possessed rap sheets,

providing for respective criminal–history scoring of categories II – IV on the guidelines chart.

           Defendant                   Responsible Weight                    Disposition
 Antione Arnett                          > 500 g., < 2 kg.         60 months imprisonment
 Timothy Underwood                       > 500 g., < 2 kg.         60 months imprisonment
 Alfonso Eggleston                              n/a                n/a
 Burden Fincher                            200 – 300 g.            4 years probation w/6 months
                                                                   home detention
 Charles Jennings                          100 – 200 g.            4 years probation w/6 months
                                                                   home detention
 Matthew King                                unknown               3 years probation w/6 months
                                                                   home detention
 Henry Bennett                               unknown               4 years probation
 Stanley Moore                                < 50 g.              time served
 David Bilicic                             100 – 200 g.            12 months and 1 day
 Ronell Morrison                           100 – 200 g.            pending August 19, 2016
 Raymond Turner                            400 – 500 g.            44 months imprisonment1
 Eugene Michelotti                            < 50 g.              5 months community–
                                                                   corrections confinement
 Robert Hueckeroth                            < 50 g.              4 years probation w/8 months
                                                                   home detention
 Tyrone Turner                             100 – 200 g.            pending August 26, 2016

       The largest confinement terms in this matter were likely the result of mandatory–

minimum sentencing (e.g., Arnett and Underwood), which effectively means that the United

States Congress, by legislative fiat, provided the statutory punishment that this Honorable Court

was required to impose. The other sentences imposed in this matter did not seem to implicate


       1
               Raymond Turner also entered a plea to being a felon–in–possession and was
sentenced to a 44–month term that ran concurrently with the drug–conspiracy count.
that statutory scheme. The lone individual with the highest responsible weight who did not face

a mandatory–minimum sentence was Raymond Turner, who is a cousin of Tyrone Turner. A

portion of that 44–month term may have been driven by Raymond Turner having a Criminal

History Category of IV.2

       As noted before, the individuals responsible for the lowest weights had each carried rap

sheets. The only other notable individual in this regard was David Bilicic, who presented with

33 separate convictions3 at the time of federal sentencing and received relatively nominal

punishment by comparison.

       Tyrone Turner has taken responsibility for a drug quantity of 100 – 200 grams. He has no

rap sheet, although we recognize that a case is pending against him in Allegheny County that

could result in a DUI conviction. The preliminary hearing in that matter was to have occurred

August 18, 2016. Mr. Turner was also accused, in count 3 of the indictment, of using a firearm in

furtherance of a drug–trafficking offense. Even though he acknowledges responsibility for that

conduct, it has been further accounted for through a two–level bump under Section 2D1.1(b)(1)

of the sentencing guidelines for possessing a firearm arguably in connection with participation in

the drug conspiracy.

               The Kinds of Sentence and the Sentencing Range Established For . . . . the

               Applicable Category of Offense Committed by the Applicable Category of

               Defendant as Set Forth in the Guidelines

       Any arguments or positions that could be raised here have already been discussed.




       2
               See Document no. 561.
       3
               See Document no. 436.
            Request for a Downward Departure from Advisory Guideline Range

       At Level 15, Mr. Turner is but two realms removed from the Zone C in which the

advisory guidelines allow for probation. Furthermore, his having pleaded guilty to a Zone C

felony offense makes him nonetheless statutorily eligible for probation under 18 USC § 3561.

With no prior involvement in any criminal–justice system, Mr. Turner bears the scarlet letter of

having his first run–in via a federal indictment. For the vast majority of individuals appearing

before this Honorable Court in any criminal court, the opposite is true. In those instances, those

defendants have had numerous scrapes in other jurisdictions before landing on the doorstep of a

federal courthouse. Not Mr. Turner. He’ll be 34 in two short months and has led a law–abiding

life until the juncture that forms his alleged participation in this conspiracy.

       In imposing a probationary term, this Honorable Court is subjecting the defendant to a

criminal sentence. Further, it can be stringent enough to meet the objectives of Section 3553(a).

In recent times, the United States Supreme Court has held that,

            We recognize that custodial sentences are qualitatively more severe

            than probationary sentences of equivalent terms. Offenders on

            probation are nonetheless subject to several standard conditions that

            substantially restrict their liberty. Inherent in the very nature of

            probation is that probationers do not enjoy the absolute liberty to which

            every citizen is entitled. Probationers may not leave the judicial

            district, move, or change jobs without notifying, and in some cases

            receiving permission from, their probation officer or the court. They

            must report regularly to their probation officer, permit unannounced

            visits to their homes, refrain from associating with any person convicted
            of a felony, and refrain from excessive drinking. USSG § 5B1.3. Most

            probationers are also subject to individual ‘special conditions’ imposed

            by the court.

United States v. Gall, 552 U.S. 38, 48 (2007).

       We direct this Honorable Court to the material filed by fellow defense lawyer R. Damien

Schorr on behalf of Mr. Bilicic. See Document no. 436 at Exhibit A. Several years ago Matthew

G. Rowland, as assistant director for the office of probation and pre–trial services penned an

article that is entitled, “Too Many Going Back, Not Enough Getting Out ? Supervision

Violators, Probation Supervision, and Overcrowding in the Federal Bureau of Prisons. Mr.

Rowland makes the point, among others, that probation can be a more primary sentencing option

than imprisonment. Incarceration is undoubtedly more punitive than probation but is it the

proper remedy for every offender who is looking at time behind bars of some duration ?

       Mr. Turner does not present as an individual whose idle mind resembles the devil’s

workshop. Rather, he toils in a full–time position, earning a wage that in large part provides for

the well–being of others, including several minors, and not just himself. And yet he also

provides for others in ways that more intangible than mere receipt of a paycheck. Those children

of Ms. Gray have specifically expressed their reliance upon him, emotionally and otherwise,

making him a dependable figure in their respective lives.

       On top of that and in ways no less important, he is not tortured by a corrosive drug habit.

He shows no violent propensities or traits. He is one for whom some decision–making was

undeniably regrettable yet hardly the kind that should subject him to a prison term.
                            Imposing the Judgement of Sentence

       Tyrone Turner has been on unsecured bond and pre–trial release continuously

since May 9, 2014. Absent the citation for alleged commission of DUI in May 2016, he

has not violated conditions of his release in the interim. Further, he has sought and

received authorization on three occasions to travel out–of–state and has done so without

any consequence. His record is devoid of being a danger to the community; equally

important, he is not a flight risk. In these interests, and only if an incarceration term is

ordered, then we respectfully request that he be permitted to self–report to the facility at

which it would be served.

                                    Respectfully submitted,

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